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                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

   JUAN LOZADA-LEONI                                   §
                                                       §
          Plaintiff,                                   §
                                                       §      Case No. 4:20-cv-00068-RWS-CMC
          v.                                           §
                                                       §
   MONEYGRAM INTERNATIONAL, INC. and                   §
   MONEYGRAM PAYMENT SYSTEMS, INC.                     §
                                                       §
          Defendants.                                  §



          PLAINTIFF’S MOTION TO AMEND THE DCO FOR LIMITED DISCOVERY


          Now Comes Plaintiff, Juan Lozada-Leoni, and respectfully requests specifically limited

   discovery, in support of which would respectfully show the Court the following:

   1.     Plaintiff seeks to amend the DCO for the extremely limited purposes of sending a

   Freedom of Information Act (FOIA) request to the Department of Justice (DOJ) and Federal

   Trade Commission.

   2.      The discovery deadline in this case was March 30, 2020. Defendant served its First

   Request for Production on February 28, 2020—four months ago (as Defendant concedes in a

   Motion to Compel [ECF 93]). Discovery for the purpose of specific depositions has been

   extended to July 31, 2020. Counsel for Plaintiff appeared in this case on June 3, 2020, after the

   close of general discovery.

   3.       Plaintiff asks to extend the deadline in order to send a FOIA request to the DOJ/FTC

   regarding the Deferred Prosecution Agreement (DPA) between the DOJ and Moneygram. The

   Federal Trade Commission (FTC) sued Moneygram in 2009, alleging a laundry list of violations,




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   including at par. 58 “In direct contradiction to its own fraud prevention policies and its

   contractual agreement with its agents, Defendant has failed to: (a) conduct adequate due

   diligence into prospective agents; (b) train and monitor its agents; (c) investigate, suspend, or

   termination suspicious agents; and (d) take other reasonable efforts to prevent fraudulent

   telemarketers and sellers from using Defendant’s money transfer system to perpetrate their

   frauds. (Exhibit 1, emphasis added). In par. 69, the FTC alleged that Moneygram had “Agents

   that were the subject of high levels of fraud complaints and paid out large volumes of fraud-

   induced money transfers; and Agents that violated Defendant’s own policies and procedures.”

   (Exhibit 1).   Notably, the FTC alleged that “[Moneygram’s] employees who advocated

   consumer fraud prevention measures, enforcement of contracts with agents, and

   cooperation with law enforcement on fraud matters or who raised concerns about

   management’s failures in these areas, were discouraged from speaking up or taking action,

   and in some instances, were disciplined or fired.” (Exhibit 1, par. 73, emphasis added). The

   FTC alleged numerous violations of federal law being continuously perpetrated by Moneygram.

   (Exhibit 1, paragraphs 82 through 92). As a result, a permanent Injunction was entered on

   October 19, 2009 requiring both “appropriate and adequate monitoring of MoneyGram Agent

   activity relevant to the prevention of Fraud-Induced Money Transfers;” and “prompt disciplinary

   action against MoneyGram Agents where reasonably necessary to prevent Fraud-Induced Money

   Transfers, including requiring mandatory fraud training, restricting maximum dollar amounts per

   receive transaction, suspension, and/or termination.” (Exhibit 2, paragraphs 4 and 5, emphasis

   added). MoneyGram was fined $18 million dollars. (Exhibit 2, par. A, p. 15)

   4.     In 2012, the DOJ and Moneygram entered into a Deferred Prosecution Agreement (DPA)

   whereby Moneygram admitted, accepted and acknowledged that it was responsible for all of the




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   fraudulent conduct being charged (“knowingly and intentionally aiding and abetting wire fraud”)

   and described in the Statement of Facts attached. (Exhibit 3, pp. 1—2). Moneygram was fined

   $100 million dollars. (Exhibit 3). In the DPA, Moneygram agreed to a long list of Compliance

   obligations, including “enhanced due diligence” and monitoring with respect to “high risk

   Agents.”    (Exhibit 3, p. C-2, paragraphs 6 and 7). In the DPA, par. 12 of attachment C-4

   (Exhibit 3), Moneygram agreed to provide fraud reports and in par. 14 of attachment C-4

   (Exhibit 3), Moneygram agreed to send to the DOJ a report every 90 days of all recommended

   Agent suspensions that were not implemented and why, as well as whether a Suspicious Activity

   Report (SAR) was filed. (Exhibit 3, p. C-4, par. 14).

   5.     This issues of Agent fraud and Agent suspension are central to this case. It is these very

   issues that were the final catalyst for Plaintiff’s termination. Plaintiff discovered some extremely

   serious violations of the DPA and Moneygram’s Compliance program by one of Moneygram’s

   large “strategic” Agents that was designated as “high risk”—Supervalu. Following the specific

   requirements of the DPA (Exhibit 3) and the federal Injunction against Moneygram (Exhibit 2),

   Plaintiff recommended immediate suspension of certain Supervalu stores. Mr. Gonzalez

   superseded Plaintiff’s recommendation and immediately “unsuspended” the stores. Plaintiff

   went to legal with concerns about failing to suspend the stores, believing that there were serious

   legal implications.   Mr. Gonzalez was extremely upset that Plaintiff talked to the Legal

   Department about the suspension and removed Plaintiff from the account. He fired Plaintiff

   approximately one week later, alleging he didn’t fit “the culture” of Moneygram.

   6.     The Fifth Circuit Court of Appeals applies a four-factor balancing test to determine

   whether good cause exists to extend a deadline: (1) the explanation for the failure to adhere to

   the deadline at issue; (2) the importance of the proposed modification to the scheduling order; (3)




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   potential prejudice; and (4) the availability of a continuance to cure such prejudice. See Reliance

   Ins. Co. v. La. Land & Exploration Co., 110 F.3d 253, 257 (5th Cir.1997) (submit expert

   reports); see Geiserman v. MacDonald, 893 F.2d 787, 790 (5th Cir.1990) (designate expert

   witnesses); see S & W Enters., LLC, 315 F.3d at 536 (amend the pleadings). This test has also

   been applied in the context of a motion to reopen discovery. See United States v. McFerrin, 2007

   2007 WL 4353709, *1 (S.D.Tex. Dec. 11, 2007) (citing Southwestern Bell Tel. Co. v. City of El

   Paso, 346 F.3d 541, 546 (5th Cir.2003)).

   7.     Notwithstanding this four-factor test, the court still has the “inherent power to control its

   own docket to ensure that cases proceed before it in a timely and orderly fashion.” U.S. v.

   Waldman, 579 F.2d 649, 653 (1st Cir.1978) (citing United States v. Correia, 531 F.2d 1095,

   1098 (1st Cir.1976)). The purpose of a scheduling order is to allow the district court to control

   and expedite pretrial discovery matters. Geiserman, 893 F.2d at 790. Scheduling orders and their

   enforcement are regarded as essential in ensuring that cases proceed to trial in a just, efficient,

   and certain manner. Rouse v. Farmers State Bank of Jewell, Iowa, 866 F.Supp. 1191, 1198

   (N.D.Iowa 1994) (citations omitted). To achieve this end, the Court is given broad discretion so

   that the integrity and purpose of the pretrial order may be preserved. See Bilbe v. Belsom, 530

   F.3d 314, 317 (5th Cir.2008) (stating that the district court's decision regarding whether to

   modify a scheduling order is afforded great deference, especially where the facts of the case

   suggest a lack of diligence on the part of the movant); S & W Enters., LLC, 315 F.3d at

   535; Hodges v. United States, 597 F.2d 1014, 1018 (5th Cir.1979).

   8.     In United States v. McFerrin, No. CIV.A. H-05-3730, 2007 WL 4353709, at *1 (S.D.

   Tex. Dec. 11, 2007), the court granted a motion to re-open discovery for a specific purpose:

          The Court is satisfied that there is good cause for granting Plaintiff's request. Plaintiff
          provides excellent reasons for the timing of its request for the extension. The amendment



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           to permit additional discovery is fully justified by the presentation of new documents and
           the disclosure of the possible pertinence of many boxes of additional documents. Plaintiff
           would be unfairly prejudiced by the failure to grant the amendment, while there is no
           perceptible harm to Defendants in allowing the amendment. The issues in this case are
           complicated and both Plaintiff and Defendant could benefit from additional time to
           review documents and consider the deposition testimony of Plaintiff's recently-identified
           witness.

   9.      Similarly in Guzman v. Jones, 2012 WL 12893478, at *4 (S.D. Tex. May 9, 2012), the

   court applied the four factor test and found that, even though the plaintiffs had not exercised due

   diligence, the remaining factors weighed in favor of re-opening discovery for a limited purpose:

           On balance, Plaintiffs have shown that good cause exists under the four-factor balancing
           test. Though Plaintiffs have failed to meet the diligence standards, the additional
           discovery relating to the ECM data may have some importance to Plaintiffs case.
           Moreover, briefly reopening discovery will not result in substantial prejudice to
           Defendants, and any resulting prejudice can be cured by a continuance. Since reopening
           discovery for this limited purpose will allow Plaintiffs to determine whether the ECM
           data exists or if it has been destroyed or altered, the Court will grant a brief extension of
           the discovery deadline.

   10.     With respect to the FOIA requests to the DOJ/FTC, Plaintiff concedes a lack of due

   diligence by his prior counsel. However, as in Guzman, supra that is not the controlling factor

   under these circumstances. The additional discovery is central to the issues in Plaintiff’s case

   with respect to his push to suspend a high risk but profitable, large Agent and his subsequent

   termination. Whether or not Moneygram reported the initial suspension and revocation of such

   suspension, as well as whether it filed the required SAR, will provide evidence of Moneygram’s

   compliance or non-compliance with the DPA as well as its retaliatory conduct toward Plaintiff.

   The reason, if any, provided by Moneygram for reversing the suspension will shed light on the

   conduct of Gonzalez with respect to the Agent and Plaintiff. Moneygram will not be prejudiced

   as Plaintiff is not seeking the information from Moneygram and Moneygram will suffer no

   expense or effort. The permission to obtain such information from the DOJ/FTC will effect no

   deadline or the trial setting in this case.



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   11 .   Requirement of Second Amended Scheduling Order (b) for proposed DCO Changes:

   REMAINING DEADLINES                                                    REQUESTED CHANGE

   3 DAYS after conclusion of Parties to file Motion to seal
   Trial                      Trial Exhibits
   November 16, 2020          9 a.m. JURY TRIAL

   November 16, 2020                  9 a.m. JURY SELECTION

   November 3, 2020                   10 a.m. PRETRIAL CONF

   October 27, 2020                   Time Requests for voir dire,
                                      opening, direct, cross, closing
   October 27, 2020                   Responses to Motions in Lim

   October 13, 2020                   Motions in Lim and pretrial
                                      objections
   October 6, 2020                    Exchange       Objections    to
                                      Rebuttal Depo Testimony
   September 29, 2020                 Notice of Request for Daily
                                      Transcript
   September 29, 2020                 Exchange               Rebuttal
                                      Designations and Obj to Depo
   September 15, 2020                 Pretrial Disclosures

   July 29, 2020                      Dispositive Motions

   March 30, 2020/                    Discovery

   July 31, 2020                      Limited Depositions

   August 31, 2020                                                       Limited discovery through
                                                                         FOIA request to DOJ/FTC

          FOR THE REASONS STATED, Plaintiff prays for the limited discovery requested and

   for such further relief as justice may require.

                                                     Respectfully submitted,


                                                     /s/Susan E. Hutchison
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                                                ATTORNEYS FOR PLAINTIFF

                                    CERTIFICATE OF SERVICE

          This is to certify that on July 22, 2020, a true and correct copy of the above and foregoing
   document was served on the following attorneys of record by delivery to each of them via
   facsimile transmission:

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                                                s/Susan E. Hutchison
                                                Susan E. Hutchison

                                 CERTIFICATE OF CONFERENCE

          Plaintiff’s counsel conferred with Defendants’ counsel and they are not opposed to

   Plaintiff sending FOIA requests to the federal agencies but are opposed to Plaintiff being able to

   supplement/use such information.

                                                        s/Susan E. Hutchison
                                                        Susan E. Hutchison



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